Case 5:20-cv-02457-MCS-SHK Document 23 Filed 10/12/21 Page 1 of 1 Page ID #:90




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  8                       UNITED STATES DISTRICT COURT
  9                     CENTRAL DISTRICT OF CALIFORNIA
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      JOAQUIN LUGO,                             Case No. 5:20-cv-02457-MCS-SHK
 12
                                Plaintiff,
 13                                             JUDGMENT
                         v.
 14
      RALPH DIAZ, et al.,
 15
                                Defendants.
 16
 17
 18        Pursuant to the Order Dismissing Case Without Prejudice for Failure to
 19   Comply with Court Orders, IT IS HEREBY ADJUDGED that the case is
 20   DISMISSED without prejudice.
 21
 22
      Dated: October 12, 2021
 23                                    HONORABLE MARK C. SCARSI
                                       United States District Judge
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